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 8                              UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L., et al.,                                      Case No.: 18-cv-428-DMS-AHG
12                            Petitioners-Plaintiffs,
                                                            ORDER RESETTING ORAL
13     v.                                                   ARGUMENT
14     U.S. Immigration and Customs
       Enforcement (“ICE”), et al.,
15
                           Respondents-Defendants.
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19           Based on the parties’ joint request, the Court hereby resets the following deadlines:
20           1.     Defendants may file their response to Plaintiffs’ supplemental motion on or
21                  before May 15, 2025 at 4:30 PM PST.
22           2.     The hearing on Plaintiffs’ supplemental motion to enforce settlement
23                  agreement shall be reset to May 16, 2025 at 12:30 PM PST in Courtroom
24                  13A.
25           Members of the news media who wish to listen in may dial in at 571-353-2301;
26    Meeting ID 151416184. Members of the general public may attend in person. All persons
27    dialing in to the hearing are reminded that Civil Local Rule 83.7(c) prohibits any recording
28    of court proceedings.

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